
USCA1 Opinion

	















                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 95-2133

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  JOHN JAIRO MUNOZ,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                               Selya, Boudin and Stahl,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Sara Rapport on brief for appellant.
            ____________
            Sheldon Whitehouse,  United States Attorney,  Margaret E.  Curran,
            __________________                            ___________________
        Assistant United  States Attorney, and Stephanie  S. Browne, Assistant
                                               ____________________
        United States Attorney, on brief for appellee.


                                 ____________________

                                    April 26, 1996
                                 ____________________


















                 Per Curiam. Defendant-appellant John Jairo Munoz Estrada
                 __________

            pled guilty to illegal reenty after deportation, in violation

            of 8 U.S.C.   1326.  He appeals from his sentence on the sole

            ground  that the district court  erred in denying  him a one-

            level  reduction  pursuant  to  U.S.S.G.     3E1.1(b)(2)  for

            "timely  notifying authorities  of his  intention to  enter a

            plea  of  guilty."   We vacate  his  sentence and  remand for

            resentencing.

                 "A defendant bears the  burden of proving entitlement to

            decreases   in  the   offense   level,   including   downward

            adjustments for  acceptance  of  responsibility.    Once  the

            sentencing  court has ruled against him on such an issue, the

            defendant faces an uphill battle."  United States v. Morillo,
                                                _____________    _______

            8  F.3d 864,  871 (1st  Cir. 1993).   "The  clearly erroneous

            standard  . .  .  guides appellate  review of  district court

            determinations under section 3E1.1(b)." Id.
                                                    ___

                 "The   timeliness  of  the   defendant's  acceptance  of

            responsibility is  . . . context specific." U.S.S.G.   3E1.1,

            comment.  (n.6).   To  qualify for  the additional  one-level

            reduction  under     3E1.1(b)(2), the  defendant  "must  have

            notified  authorities of  his intention  to enter  a plea  of

            guilty at a sufficiently  early point in the process  so that

            the government  may avoid preparing  for trial and  the court

            may schedule its calendar efficiently." Id.
                                                    ___





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                 In denying the  one-level reduction for timeliness,  the

            district court  focused on  the court's ability  to "allocate

            its resources efficiently,"   3E1.1(b)(2), rather than on the

            government's expenditure of resources in preparing for trial.

            (The government  concedes in its  brief that "[t]here  was no

            direct  evidence  on  the  record that  the  prosecution  had

            actually prepared for trial -- outside of preparing responses

            to  defense counsel's boilerplate  motions.")1  Specifically,
                                                         1

            the court  emphasized that Munoz  did not plead  guilty until

            after the case was placed on the court's trial calendar.

                 Wasting judicial resources is, of course, a valid ground

            for denying  the extra  one-level reduction.   Here, however,

            the  case was placed on  the court's trial  calendar on March

            22, 1995.  Munoz did not  actually enter his plea until April

            5, 1995.   The language of    3E1.1(b)(2) refers to  the date

            that  the defendant "notif[ies]  authorities of his intention

            to  enter a plea  of guilty," not  the date that  the plea is

            entered.   In this case,  notification occurred on  March 16,

            1995, the date on which the parties filed their executed plea

            agreement with  the court.  Therefore,  notification occurred

            before  the  district court  placed  the  case on  the  trial

                                
            ____________________

               1We do not suggest that work by prosecutors in  responding
               1
            to pretrial motions cannot, in many circumstances, constitute
            "preparing for  trial" within  the purview of    3E1.1(b)(2).
            We  merely  point out  that,  here, the  government  gave the
            district  court very little to work with, and, in all events,
            the court did not  premise its denial of the  added reduction
            on the government's preparatory work.

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            calendar.  It was clear error for the district  court to rule

            that Munoz's acceptance of responsibility was untimely on the

            ground  that it  occurred after  the case  was placed  on the

            court's trial calendar.

                 The sentence  is vacated  and the  case is  remanded for
                                  _______                    ________

            resentencing.  At the new sentencing hearing, either side may

            proffer relevant information concerning the government's work

            in preparing the case up to the time of the plea agreement.





































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